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10
     [Additional Counsel Appear on Signature
11   Page]
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13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16
17
18                                                       Case No. 3:21-md-02981-JD
     IN RE GOOGLE PLAY STORE
19   ANTITRUST LITIGATION                                DECLARATION OF
20                                                       MICHAEL J. ZAKEN IN SUPPORT OF
     THIS DOCUMENT RELATES TO:                           EPIC’S AND MATCH’S MOTION TO
21                                                       AMEND COMPLAINTS
     Epic Games Inc. v. Google LLC et al.,
22   Case No. 3:20-cv-05671-JD                           Date: Nov. 17, 2022 at 10:00 am
                                                         Courtroom: 11, 19th Floor
23   Match Group, LLC et al. v. Google LLC et al.,       Judge: Hon. James Donato
24   Case No. 3:22-cv-02746-JD

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                  DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
                                  MOTION TO AMEND COMPLAINTS
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 1           I, Michael J. Zaken, declare as follows:
 2           1.      I am Of Counsel at Cravath, Swaine & Moore LLP, counsel to Epic
 3   Games, Inc. (“Epic”) in the above-captioned actions. I am admitted to appear before
 4   this Court pro hac vice.
 5           2.      I have personal, first-hand knowledge of the facts set forth in this
 6   Declaration. If called as a witness, I could and would competently testify to these facts
 7   under oath.
 8           3.      Attached hereto as Exhibit A is a true and correct copy of Epic’s Proposed
 9   Second Amended Complaint (“SAC”).
10           4.      Attached hereto as Exhibit B is a true and correct copy of a blackline of
11   Epic Games, Inc.’s (“Epic”) SAC to Epic’s First Amended Complaint (“FAC”) filed
12   July 21, 2021 (Dkt. No. 64).1
13           5.      Attached hereto as Exhibit C is a true and correct copy of the document
14   produced by Google in this litigation bearing Bates range
15   GOOG-PLAY-007280918-920 (marked as Plaintiffs’ Deposition Exhibit 150), which
16   includes an email from Google’s employee                                at the pages ending in
17   ’918-919, dated December 11, 2019.
18           6.      Attached hereto as Exhibit D is a true and correct copy of the document
19   produced by Google in this litigation bearing Bates range
20   GOOG-PLAY-007424789-790 (marked as Plaintiffs’ Deposition Exhibit 1478 and
21   1523), which is an e-document titled “                        ”, dated November 17, 2020 from
22   document metadata.
23           7.      Attached hereto as Exhibit E is a true and correct copy of the document
24   produced by Google in this litigation bearing Bates range
25   GOOG-PLAY-000929031-041 (marked as Plaintiffs’ Deposition Exhibit 162), which is
26
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28         All citations are to the MDL docket unless otherwise indicated.
                     DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
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 1   a document titled “
 2                             ”, dated March 9, 2020.
 3         8.      Attached hereto as Exhibit F is a true and correct copy of the document
 4   produced by Google in this litigation bearing Bates range
 5   GOOG-PLAY-007847561-565, which is a document titled “
 6                                                                           ”, dated
 7   January 24, 2020.
 8         9.      Attached hereto as Exhibit G is a true and correct copy of the document
 9   produced by Google in this litigation bearing Bates range
10   GOOG-PLAY-007273439-444 (marked as Plaintiffs’ Deposition Exhibit 153), which is
11   a document titled “
12                             ”, dated January 25, 2020.
13         10.     Attached hereto as Exhibit H is an excerpt of a true and correct copy of the
14   deposition transcript of Google’s former employee,
15
16         11.     Attached hereto as Exhibit I is an excerpt of a true and correct copy of the
17   deposition transcript of Google’s employee,
18
19         12.     Attached hereto as Exhibit J is an excerpt of a true and correct copy of the
20   deposition transcript of Activision’s employee,
21         13.     I am informed and believe that since December 3, 2021, Defendants
22   Google LLC, Google Ireland Limited, Google Commerce Limited and Google Asia
23   Pacific Pte. Limited (collectively, “Google”) and multiple third parties produced
24   approximately 1,329,000 documents.
25         14.     I am informed and believe that since December 3, 2021, Google has
26   produced approximately 757,000 documents, about a quarter of its total production.
27
28                 DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
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 1         15.       I am informed and believe that since December 3, 2021, third parties have
 2   produced approximately 572,000 documents.
 3         16.       I am informed and believe that since December 3, 2021, Plaintiffs 2 have
 4   taken 31 depositions of Google witnesses and 10 depositions of third-party witnesses. I
 5   am informed and believe that Plaintiffs have noticed three additional depositions of
 6   Google witnesses that have yet to be taken.
 7         17.       I am informed and believe that since December 3, 2021, Plaintiffs have
 8   questioned Google witnesses about Google’s Project Hug deals, including in the
 9   depositions of                         ,          ,              ,                   ,
10               ,                      ,                      ,                      ,       and
11                       .
12         18.       I am informed and believe that important discovery regarding Google’s
13   Project Hug deals was completed in late August and late September 2022, with the
14   depositions of                                and                      .
15         19.       On September 30, 2022, counsel for Epic informed counsel for Google that
16   Epic was considering amending its First Amended Complaint. On October 2, 2022,
17   counsel for Epic emailed Google’s counsel a copy of Epic’s draft Second Amended
18   Complaint and requested that Google inform Epic whether it would consent to the
19   amendment. Google informed Epic on October 7, 2022 that it did not consent. The
20   same day, Epic informed Google that Match intended to join in this motion and file a
21   similar amendment.
22         20.       Attached hereto as Exhibit K is a true and correct copy of Plaintiffs Match
23   Group LLC et al.’s (“Match”) Proposed First Amended Complaint.
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27       “Plaintiffs” refers to Epic, Consumer Plaintiffs, State Attorneys General Plaintiffs
     and Plaintiffs Match Group LLC et al.
28                   DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
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 1         21.   Attached hereto as Exhibit L is a true and correct copy of a blackline of
 2   Plaintiffs Match’s First Amended Complaint to Match’s Complaint (“FAC”) filed May
 3   9, 2022 (Match Dkt. 1).
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28               DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
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 1         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
 2   foregoing is true and correct and that I executed this declaration on October 7, 2022 in
 3   New York, NY.
 4
                                                    /s/ Michael J. Zaken
 5                                                  Michael J. Zaken
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28               DECLARATION OF MICHAEL J. ZAKEN IN SUPPORT OF EPIC’S AND MATCH’S
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